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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


  UNITED STATES
                                                      No. 13-cr-10200-GAO
     v.

  DZHOKHAR TSARNAEV


                            MOTION TO APPOINT CJA COUNSEL

          Dzhokhar Tsarnaev respectfully requests that the Court re-appoint undersigned counsel

under the Criminal Justice Act in the above-captioned case on remand from the United States

Court of Appeals for the First Circuit.

          As grounds for this motion, undersigned counsel states:

          1.     Mr. Tsarnaev is legally indigent and has been represented by court-appointed

counsel at every stage of proceedings, in this Court and in the First Circuit.

          2.     Undersigned counsel represented Mr. Tsarnaev in this Court at the initial

appearance, in pretrial proceedings, at trial, and at sentencing in this case, while serving as an

Assistant Federal Public Defender for the District of Massachusetts.

          3.     Undersigned counsel is now in private practice and is a member of the CJA Panel

for the District of Massachusetts.

          4.     Section V.B. of the D. Mass. CJA plan provides that in “exceptional

circumstances, a judicial officer shall have the discretion to appoint … a CJA Panel member

other than the duty attorney, in order to serve the interests of justice, judicial economy,

continuity in representation, or if there is some other compelling circumstance warranting such

appointment.” These considerations militate in favor of re-appointing undersigned counsel in




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this case, to provide continuity with the trial team, and to serve as local counsel with an office in

this District.

        5.       In addition to undersigned counsel, attorneys Daniel Habib, Deirdre von Dornum,

and Mia Eisner-Grynberg from the Federal Defenders of New York, who are admitted in this

District and have represented Mr. Tsarnaev in the First Circuit, plan to file (or have filed) notices

of appearance in this case.

        6.       Finally, David Patton, who represented Mr. Tsarnaev in the First Circuit and is

admitted pro hac vice in this case, see D.E. 1704, plans to serve as pro bono counsel “learned in

the law applicable to capital cases.” 18 U.S.C. § 3005. Mr. Patton previously served as Executive

Director of the Federal Defenders of New York and is now in private practice.

        7.       Pursuant to § 3005, Attorney von Dornum has conferred with the Interim Federal

Public Defender for the Districts of Massachusetts, New Hampshire, and Rhode Island, who

approves of the plan for capital representation set forth herein.

        For the foregoing reasons, this Court should grant this motion.

                                               Respectfully submitted,

                                               DZHOKHAR TSARNAEV

                                                      /s/ William Fick
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August 5, 2024




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                                       Certificate of Service

        I hereby certify that this document and any attachments filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) on August 5, 2024.
                                                /s/ William Fick




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